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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                            Civil Action No.: 1:20-cv-03761
        Plaintiffs,
                                                            Judge Manish S. Shah
v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                           PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on Plaintiffs, WHAM-O HOLDING, LTD. and

INTERSPORT CORP. d/b/a WHAM-O (“WHAM-O” or “Plaintiffs”), Motion for a Preliminary

Injunction, and this Court having heard the evidence before it hereby GRANTS Plaintiffs’ Motion

for Entry of a Preliminary Injunction in its entirety against the defendants identified in Schedule

A (collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants since

the Defendants directly target their business activities toward consumers in the United States,

including Illinois. Plaintiffs have presented screenshot evidence that each Defendant Internet Store

is reaching out to do business with Illinois residents by operating one or more commercial,

interactive Internet Stores through which Illinois residents can and do purchase products using

counterfeit versions of Plaintiffs’ HULA HOOP trademark, U.S. Trademark Registration No.

739,307 (“The HULA HOOP trademark”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this



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litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65. Evidence submitted in support of this Motion and in support of WHAM-O’s

previously granted Motion for a Temporary Restraining Order establishes that WHAM-O has a

likelihood of success on the merits; that no remedy at law exists; and that WHAM-O will suffer

irreparable harm if the injunction is not granted.

        Specifically, WHAM-O has proved a prima facie case of trademark infringement because

(1) the HULA HOOP trademark is a distinctive mark and is registered with the U.S. Patent and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to use

the HULA HOOP trademark, and (3) Defendants’ use of the HULA HOOP trademark is causing

a likelihood of confusion as to the origin or sponsorship of Defendants’ products with WHAM-O.

Furthermore, Defendants’ continued and unauthorized use of the HULA HOOP trademark

irreparably harms WHAM-O through diminished goodwill and brand confidence, damage to

WHAM-O’s reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to

address such damage and, therefore, WHAM-O has an inadequate remedy at law. Moreover, the

public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions. Accordingly, this Court orders that:

1.      Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

        and all persons acting for, with, by, through, under or in active concert with them be

        temporarily enjoined and restrained from:

         a. using the HULA HOOP trademark or any reproductions, counterfeit copies or

            colorable imitations thereof in any manner in connection with the distribution,

            marketing, advertising, offering for sale, or sale of any product that is not a




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        genuine HULA HOOP product or not authorized by WHAM-O to be sold in

        connection with the HULA HOOP trademark;

   b.   passing off, inducing, or enabling others to sell or pass off any product as a

        genuine HULA HOOP product or any other product produced by WHAM-O,

        that is not WHAM-O’s or not produced under the authorization, control or

        supervision of WHAM-O and approved by WHAM-O for sale under the

        HULA HOOP trademark;

   c.   committing any acts calculated to cause consumers to believe that Defendants'

        products are those sold under the authorization, control or supervision of

        WHAM-O, or are sponsored by, approved by, or otherwise connected with

        HULA HOOP;

   d.   further infringing the HULA HOOP trademark and damaging WHAM-O’s

        goodwill;

   e.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for WHAM-O, nor authorized by WHAM-O

        to be sold or offered for sale, and which bear any of the HULA HOOP trademark

        or any reproductions, counterfeit copies or colorable imitations thereof;

   f.   using, linking to, transferring, selling, exercising control over, or otherwise

        owning the Online Marketplace Accounts, or any other online marketplace

        account that is being used to sell or is the means by which Defendants could

        continue to sell Counterfeit/Infringing HULA HOOP products; and




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        g.   operating and/or hosting at the Online Marketplace Accounts and any other

             online marketplace accounts registered or operated by Defendants that are

             involved with the distribution, marketing, advertising, offering for sale, or sale

             of any product bearing the HULA HOOP trademark or any reproductions,

             counterfeit copies or colorable imitations thereof that is not a genuine HULA

             HOOP product or not authorized by WHAM-O to be sold in connection with

             the HULA HOOP trademark.

2.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as, but not limited to Amazon, (collectively, "Marketplaces"), social

        media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as

        Google, Bing and Yahoo, shall within three (3) business days of receipt of this Order:

             a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the

                HULA HOOP trademark, including any accounts associated with the

                Defendants listed in Schedule A;

             b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the HULA HOOP trademark; and

             c. take all steps necessary to prevent links to the Defendant Online

                Marketplace Accounts identified in Schedule A from displaying in search

                results, including, but not limited to, removing links to the Online

                Marketplace Accounts from any search index.




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3.      Defendants and any third party with actual notice of this Order who is providing services

        for any of the Defendants, or in connection with any of Defendants' Online Marketplace

        Accounts or other websites operated by Defendants, including, without limitation, any

        online marketplace platforms such as Marketplaces, advertisers, Facebook, Internet

        Service Providers ("ISP"), web hosts, back-end service providers, web designers,

        sponsored search engine or ad-word providers, banks, merchant account providers,

        including PayPal, Alipay, Western Union, third party processors and other payment

        processing service providers, shippers, and online marketplace registrars (collectively, the

        "Third Party Providers") shall, within five (5) business days after receipt of such notice,

        provide to WHAM-O expedited discovery, including copies of all documents and records

        in such person's or entity's possession or control sufficient to determine:

            a. The identities and locations of Defendants, their agents, servants,

               employees, confederates, attorneys, and any persons acting in concert or

               participation with them, including all known contact information;

            b. the nature of Defendants' operations and all associated sales and financial

               information, including,      without   limitation,   identifying   information

               associated with the Online Marketplace Accounts, and Defendants' financial

               accounts, as well as providing a full accounting of Defendants' sales and

               listing history related to their respective Online Marketplace Accounts;

            c. Defendants' websites and/or any Online Marketplace Accounts;

            d. The Defendant Online Marketplace Accounts registered by Defendants; and

            e. Any financial accounts owned or controlled by Defendants, including their

               agents, servants, employees, confederates, attorneys, and any persons acting


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               in concert or participation with them, including such accounts residing with

               or under the control of any banks, savings and loan associations, payment

               processors or other financial institutions, including, without limitation,

               Amazon, PayPal, Alipay, Western Union, or other merchant account

               providers, payment providers, third party processors, and credit card

               associations (e.g., MasterCard and VISA).

4.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be temporarily restrained and enjoined from transferring or

        disposing of any money or other of Defendants' assets until further ordered by this Court.

5.      eBay, Inc. (“eBay”), PayPal, Inc. ("PayPal"), Context Logic, Inc.(“WISH”), Amazon

        Payments, Inc. (“Amazon”), Alipay US, Inc. and its entities (“Alipay”) and Heguang

        International Limited or Dunhuang Group d/b/a DHGATE, DHGate.com, DHPORT,

        DHLINK and DHPAY (“DHGate”), shall, within three (3) business days of receipt of

        this Order, for any Defendant or any of Defendants' Online Marketplace Accounts or

        websites:

         a. Locate all accounts and funds connected to Defendants, Defendants' Online

            Marketplace Accounts or Defendants' websites, including, but not limited to, any

            eBay, PayPal, WISH, Amazon, Alipay and DHGate accounts connected to the

            information listed in Schedule A hereto or the email addresses identified in

            Exhibit 2 to the Declaration of Todd Richards; and

          b. Restrain and enjoin any such accounts or funds that are non-U.S. foreign based

            from transferring or disposing of any money or other of Defendants' assets until

            further ordered by this Court.


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6.      Any banks, savings and loan associations, payment processors, or other financial

        institutions, for any Defendant or any of Defendants' Online Marketplace Accounts or

        websites, shall within three (3) business days of receipt of this Order:

            a. Locate all accounts and funds connected to Defendants, or Defendants'

            Online Marketplace Accounts, including, but not limited to, any accounts

            connected to the information listed in Schedule A hereto or the email addresses

            identified in Exhibit 2 to the Declaration of Todd Richards; and

          b. Restrain and enjoin such accounts from receiving, transferring or disposing of

            any money or other of Defendants' assets until further ordered by this Court.

7.     WHAM-O may provide notice of these proceedings to Defendants, including notice of the

        preliminary injunction hearing and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

        electronically publishing a link to the Complaint, this Order and other relevant documents

        on a website, or by sending an e-mail to the e-mail addresses identified in Exhibit 2 to the

        Declaration of Todd Richards and any e-mail addresses provided for Defendants by third

        parties that includes a link to said website. The Clerk of Court is directed to issue a single

        original summons in the name of “Changzhou Beststar Tourist Products Co., Ltd. and all

        other Defendants identified in Complaint” that shall apply to all Defendants. The

        combination of providing notice via electronic publication and e-mail, along with any

        notice that Defendants receive from Online Marketplace Accounts and payment processors,

        shall constitute notice reasonably calculated under all circumstances to apprise Defendants

        of the pendency of the action and afford them the opportunity to present their objections.

8.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order on two days' notice to WHAM-O or on shorter notice as set by this Court.


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9.      The $10,000 bond posted by WHAM-O shall remain with the Court until a Final disposition

        of this case or until this Preliminary Injunction is terminated.


Dated: August 4, 2020


                                        _____________________________________
                                        Manish S. Shah
                                        U.S. District Court Judge




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                                  SCHEDULE A

     No.                            DEFENDANTS
      1    Changzhou Beststar Tourist Products Co., Ltd.
      2    Hangzhou Changyi Sporting Goods Co., Ltd.
      3    Hangzhou Sprocare Med Medical Supplies Co.,ltd
      4    Hebei Kang Sheng Yuan Sports Goods Co., Ltd.
      5    Nantong Jinruite Technology Development Co., Ltd.
      6    Ningbo Winz Sports Goods Co., Ltd.
      7    Shanghai Qida Trade Co., Ltd.
      8    Shaoxing Jinlangte Sports Goods Co., Ltd.
      9    Shenzhen Crestgolf Supplies Co., Ltd.
     10    Suqian Feixiang Toy Co., Ltd.
     11    UNISOUL INC.
     12    Yiwu Pincai Daily Necessities Co., Ltd.
     13    Yiwu Saida Sports Products Factory
     14    Yuyao Aggpo Electronic Technology Co., Ltd.
     15    Zhejiang Liangxuan Trade Co., Ltd.
     16    2006ebseller
     17    20yes4buy
     18    2ndheaven2013
     19    5minutesforhome
     20    acc2020
     21    aeolianisland
     22    aletterfroms
     23    alwarysbeauty
     24    anna1825
     25    a-tristan
     26    auhomeset
     27    autopartnation
     28    auzinn15
     29    awell-bo
     30    beadsmarket
     31    bestnbestonline
     32    beyondmall
     33    bigbang6604
     34    bikitique
     35    bilkin-30
     36    biwecity
     37    bobwang1102
     38    boysgirlsnew-04


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      39   boysgirlsnew-05
      40   bychem013
      41   cetagie-2
      42   charminggaga
      43   clio4u
      44   conception1248
      45   coolcargo68
      46   coolmanloveit2015
      47   coolscooter
      48   cp-happylife
      49   dadnmonsbasket
      50   danwen-xi
      51   decforhome
      52   deyiz93
      53   easycommuter
      54   elec-mall
      55   electr_one
      56   ellb4580
      57   ellieshang
      58   elsa1682
      59   equalityoutlet
      60   fashionhome_9
      61   feemo_no1
      62   foreverforyou2017
      63   fortune108
      64   fortunesty
      65   gashinastore
      66   g-blaster
      67   gesmartug
      68   geyanboy_8
      69   golden_empire2018
      70   gsa_kmallcom
      71   gzlp09
      72   happybird2256
      73   happy-buy-forever
      74   happybuystore_6
      75   happygotoshop
      76   hellowen3238
      77   holastore_2018
      78   hooyon
      79   huainianguoqu14


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      80   hualiisland
      81   huijieltd
      82   ieobgeegr
      83   jerry201818
      84   jewelry-panbeads
      85   jiurutrade
      86   jj294152023
      87   jsbay88
      88   justbuybuybuy17
      89   jxtechbstore
      90   kaydaily
      91   kikirobuy
      92   lacn147
      93   leo4trade
      94   libra.studio
      95   liebe_777
      96   lifefor4u**
      97   life-ocio
      98   lpchenmj
      99   luckystory668
     100   macxlqery64
     101   mallcareyou
     102   mallfun
     103   mallhighquality
     104   mallservice
     105   manhatmall
     106   megawheels_online
     107   mickey2875
     108   motorpartsvalue
     109   mrright0
     110   mscooter2016
     111   mscooter-top
     112   myherois126
     113   myleeshop
     114   my-little-pet
     115   neuhause3339
     116   neutral888
     117   niceol
     118   nickplateau
     119   noovira
     120   off-mart


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     121   peachpink
     122   pendeln2017
     123   pinkerpur52
     124   positive999
     125   qifa_3
     126   radima37
     127   red_river7
     128   risunstore
     129   ronggxi_obhmkak
     130   sabinasada
     131   scapesajik
     132   shuimohua
     133   sihejumaoyi
     134   smba_sbc
     135   smileface01
     136   squaregym
     137   sven666
     138   szming07252
     139   tangsi1688
     140   thanks4giving
     141   the_rolling_stones
     142   tingy75
     143   tj13cn
     144   tobox2020
     145   top.art.online
     146   top88apple
     147   traumleben
     148   ukings
     149   uksuperstar2018
     150   vo2531
     151   voltany
     152   weareeasyshop
     153   wenxinkeji
     154   whitesibirien
     155   wis09dog
     156   xia9472
     157   xiasanjay_2
     158   yakir365
     159   yksheng02
     160   ymca200808
     161   yunfuli8960


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     162   465hgdsf4a6546
     163   Aley's fast shop
     164   ALONG 's Shop666
     165   alyssasaed
     166   ASD66
     167   badening258
     168   bestbest66
     169   biigeoled580
     170   Bingmeiren nv zhuang
     171   camyerdeat
     172   comeacross1
     173   Daisysun
     174   domitila
     175   esperanza
     176   Fashionpark365
     177   feixiangxiaodian
     178   Flavor beef jerky Bang bang niu
     179   G4H6S5465G
     180   gaomeijiao2156
     181   Happy handicrafts store
     182   helloabc2035
     183   Hollysop
     184   imeonmeon
     185   lingling777
     186   Live4nowfor
     187   Lovelyhouse520
     188   lsanbyre
     189   missxu
     190   NB999
     191   New YE
     192   PInghua89
     193   pwrimo chharles company
     194   ruixiang862
     195   sdf65jhgf546
     196   Shanghai Zhenhong trading Co., Ltd
     197   SHIPFROMEU
     198   skytoan
     199   song yan shop
     200   stronglonghh
     201   TOAEON
     202   TORYEA


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     203   Tsjhglsyu345
     204   Ulittlebanana
     205   VfjksjlfI23
     206   VICHAN E-CO
     207   wangyanyan215
     208   wyek66986
     209   xiwangtianye
     210   Xshirley
     211   yeskoshe
     212   Ygsdtefcdd56
     213   yiblakeji
     214   Yunshan Bamboo stores
     215   zxmaz
     216   ZYJ888
     217   ZYL-A
     218   *m·kvfa*
     219   ❤kidirt❤🎉🎉🎉🎉
     220   ❤MODAO ❤ Prime? Day Clearance Sale!!!
     221   ❤Ywoow❤
     222   3d Murals Photo Gallery
     223   6Feeki
     224   ACHENYUANYUAN
     225   Adam Macaulay
     226   AGENI
     227   Aimik
     228   akasaw98
     229   ALOPEX
     230   Arierswing
     231   AUJIEADJUNYI
     232   AUSUKY
     233   Auwer🔥🔥Summer Hot Sale🔥🔥Up To 50% Off🔥🔥.
     234   avbojerbrwa
     235   Baimuda
     236   Banaidi
     237   Bazahy
     238   Beautymall
     239   BerniceKelly
     240   Bethany Home
     241   biteri
     242   BJFSSF
     243   BJJIAJIN

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     244   BONBOON
     245   BWOLF
     246   Cenglings
     247   cfbgfd
     248   CHANGFENGUS
     249   Cheer Maker
     250   Cheunglk
     251   CHICchen
     252   ciweixiaohuo
     253   ComCreate
     254   CrushOn
     255   Dainzuy
     256   dgfdgdgd
     257   DLAPL
     258   DODOLOOK US
     259   Dracarys Store
     260   DreamJ
     261   Dreamwork Co., Ltd.
     262   DUANGUOYAN
     263   EODUDO-S
     264   erthree3
     265   ertyn
     266   EudoUS
     267   Euoso
     268   FakMe
     269   FAN ST.
     270   Fen Xia
     271   ffzhushengmy
     272   FTHK1
     273   FYSHHDZSWB
     274   Gangkai
     275   gbfgbv
     276   GeekHall
     277   GESECRET
     278   GHPBMZ
     279   GIFTS zwr
     280   Gijoki
     281   GJ2019
     282   gonikm
     283   GouGoudamai
     284   guohuikeji


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     285   guytcom
     286   HAOLONGYI
     287   Happy SP
     288   henansuzhiledianzishangwuyouxiangongsi
     289   hengzhenshipinshanghang
     290   Hersheyy
     291   HIFEOS STORE
     292   Higere
     293   HLYPD
     294   Home Medical health Official shop
     295   Houfoo
     296   hPCNjoETsuc
     297   HsuoWu
     298   INOBLXR
     299   Jaklove
     300   Jiayit
     301   JingLiang Li-us
     302   Jiusike
     303   Jk-Sr
     304   JW Fashion
     305   KaiYunKeJi
     306   kfdgvsdj
     307   KSDK
     308   KT-Studio
     309   KU LI
     310   kuanus
     311   langya store
     312   laye
     313   LDQ2019
     314   Lee Sports
     315   Let's go travel
     316   lfggb
     317   liang-
     318   Life in the desert oasis world
     319   LingBaBaihuo
     320   Lingery
     321   Linxian Tuban fengpingfuzhuangxiemaodian
     322   LinXianHuiZhongBaiHuoDian
     323   LI-PENG
     324   liu qilei
     325   LKHRS


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     326   LOPDJSEG
     327   LTDD
     328   luohushanghang
     329   lXYcjJmyKvV
     330   LY-GO
     331   makoo
     332   Master Deng
     333   mengming us
     334   Messagely
     335   mksznaPxr
     336   Moggem Store
     337   MZ JCSWHGMYXGS
     338   Nalong Electronics Co., Ltd.
     339   Newland
     340   nice day
     341   NOENNULL _House11
     342   nuahga
     343   nxiantaix
     344   PAOxiao
     345   PickTek
     346   Portos Max
     347   PRE-LIFE
     348   Pvnoocy
     349   qiaolushangmao
     350   QIJINGYIHUA
     351   qinguo123
     352   QSPMGSE
     353   QUAN--YOU
     354   Redpol
     355   ricalrechi23
     356   Round2Quit
     357   ruykjnbd
     358   Sail Sailing
     359   sfafdsfdsf
     360   Shakam global
     361   ShanlinBaihuo
     362   shanxijingbojuekejiyouxiangongsi
     363   shengdecheng
     364   SHERRY-SHOP
     365   Shuaihan
     366   Simonseason


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     367   Sinzelimin
     368   SiQing
     369   smiela
     370   snowvirtuos
     371   Song Yao
     372   SOTTYH
     373   SPBNrDuRjFn
     374   squellcheng
     375   Sunny-house
     376   sweetheart lover
     377   TADAMI
     378   TaemBuy.
     379   TOPBIGGER 🔥🔥 🔥🔥 Up to 70% Big Promotion Sale
     380   Tourequi
     381   TWQQUS
     382   US-CZ-XING
     383   uson
     384   Uuna Store
     385   Uwitstar
     386   Vansee❤❤ hot sale !!!
     387   VenerateCAR
     388   Viedoct
     389   vivioi
     390   WangYings
     391   WeiLiAA
     392   Winfred Maurice
     393   WONIUJIN
     394   WU-LERY
     395   xiamenxiangqi
     396   XiAnShi BeiLinQu LingKongBaiHuoShangMaoDian
     397   xianshiyantaquzhaohuanbaihuobianlidian
     398   xiaogao shop
     399   XIAOL-DNXC
     400   XingHua Tongmuju Electronic Commerce Co., Ltd,
     401   XUNMAiF
     402   XY Direct
     403   YAOYAO--BIAN
     404   YibaiyiBaihuodian
     405   yidadian
     406   YongJiangJiaJuHang
     407   Yongqinghui

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     408   YOU^NEN
     409   Youen Direct
     410   youqingren
     411   YQCOM
     412   ytiukjmn
     413   YUANJIAN
     414   YunFine INC
     415   YUSDP
     416   Yvm11
     417   Zaozhuying
     418   Zehui Trade
     419   Zhang weiwei BU
     420   zhangxiaojing
     421   zhao456
     422   ZhiSong
     423   ZHYL
     424   Zqasales Direct
     425   ZSMING XIONGQI
     426   404_NTFound Store
     427   5Billion-Fitness Store
     428   A Outdoor Store
     429   ABbbbi Store
     430   Actively & outdoor Store
     431   Actively Up Store
     432   Adventure outdoor franchise Store
     433   Adventure Outdoor Store
     434   Adventurer Outdoor Store
     435   Aimigo & Exercise Store
     436   All-inclusive Outdoor Store
     437   Angler & Cyclist's Store
     438   Athletics Outdoor Store
     439   Baby DD Store
     440   BC Music Store
     441   Bluenight Outdoors Store
     442   Brilliant Outdoor Store
     443   By-Shine Store
     444   Calla Outdoorsports Store
     445   Camtoa Outdoor Store
     446   CXF Store
     447   Desirable Lifestyle Home- Store
     448   Devil's Daily Parity Store


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     449   DiDiBaby Store
     450   Dropshipping Outlet Store
     451   easygoing4
     452   Eileen Zhang Store
     453   Energetic Store
     454   Enjoying Your Sporting Life Store
     455   Enjoy-Your-Life Store
     456   Exercise builds self and challenges extremes Store
     457   Exercise together Store
     458   EZ Housework Store
     459   Fantabulous Store
     460   Fashional Clothes dropshipping Store
     461   Fiddlesticks Store
     462   FireFox outdoor Store
     463   Fishing Day Store
     464   Fitness & Life Store
     465   Fitness Younger Store
     466   Fizz Store
     467   Forever- younger Store
     468   Future Outdoor Store
     469   Fuuny Outdoor Cycling Store
     470   Gangplank Store
     471   Global Adventure Store
     472   Global Sporting Store
     473   Going Sporting Store
     474   good luck 666 Store
     475   Go-Outing Store
     476   Guiseapue Store
     477   Guitar bag Store
     478   Hangzhou Suoyin Import & Export Co., Ltd.
     479   happyeasybuy01
     480   He Zong Outdoor Store
     481   Hi,Outdoor Store
     482   HJ Life has you Store
     483   HomeBeOfficial Store
     484   Huaswin Store
     485   Icycling GO Store
     486   Irelia Store
     487   Jamescastle Store
     488   JIAXI House Store
     489   JOSHNESE outdoor fitness Store


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     490   Keep-Running Store
     491   let'skeeping Store
     492   Litei96 Store
     493   Lokie's Store
     494   LT Outdoor Suppliers Store
     495   Mi Smart- Store
     496   My New Bag Store
     497   Nantong Bodyplus Trading Co., Ltd.
     498   Nice-30-Days Store
     499   Ningbo Wonderful Plastic Industry And Trade Co., Ltd.
     500   NOEBY OnlyOne Store
     501   OHDREAM Rise Outdoor Fitness Store
     502   OUO Fitness Store
     503   Outdoor Adventure World Store
     504   Outdoor Assistant Store
     505   Outdoor Center Store
     506   Outdoor Factory Drop Shipping Wholesaler Keep Moving Store
     507   Outdoor Fitness & Cycling Store
     508   Outdoor Goods Store
     509   Outdoor Goods Wholesaler Drop Shipper Store
     510   Outdoor Hobby Store
     511   Outdoor Relaxing Store
     512   Outdoor Sporting - Keep Healthy Store
     513   Outdoor Wholesaler Drop Ship Towards Victory Store
     514   Outdoors Life Store
     515   Outdoor-Sport Store
     516   Pro Hiker Store
     517   ProOutdoor Store
     518   QILILANG Store
     519   Relax oneself Store
     520   Rujia Bike Store
     521   SeizeThe Day Store
     522   Shop1742026 Store
     523   Shop3901062 Store
     524   Shop4679017 Store
     525   Shop4800046 Store
     526   Shop4998130 Store
     527   Shop5315011 Store
     528   Shop5423114 Store
     529   Shop5598201 Store
     530   Shop5623092 Store


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     531   Shop5623186 Store
     532   Shop5628321 Store
     533   Shop5723082 Store
     534   Shop5789161 Store
     535   Shop801868 Store
     536   Shop900058002 Store
     537   Sikiwind Outdoor Store
     538   Sikiwind Outdoor Store Store
     539   Sion Store
     540   Smart-home-Xiaomi Store
     541   Splendiferous Go To Go Store
     542   Sportsdiary Store
     543   Sportworld Store
     544   Staying Footprints Store
     545   Suamo955 Store
     546   Suntekcam Trail camera Store
     547   superCassiopeia Store
     548   superChoGath Store
     549   Tools Heaven Store
     550   Vicki Purdy Store
     551   VIVIESTA SPORT Official Store
     552   Wayfaring Outdoor Area Store
     553   WEIHUA Movement supplies Store
     554   Wholesaler Keep Moving Store
     555   Wonder Outdoor Store
     556   Wuxi Stoter Import And Export Company Ltd.
     557   Yongkang Taqing Trade Co., Ltd.
     558   Youchuang Co.,Ltd
     559   Yunhua Shen's store
     560   Yu's Outdoor Fun Store
     561   ZAJK292 Outdoor Store
     562   Zhejiang Jinyuan Machinery Co., Ltd.
     563   Zindy's Store
     564   all_sport
     565   Babysupplies
     566   Bestjerseys2020
     567   cfgs
     568   Dadoudou
     569   Dayao05
     570   easy_deal_tech
     571   enjoyweekend


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     572   Funibaoluo
     573   Hcaihong
     574   hepsi_kids_toys
     575   hlq1027
     576   homeworld
     577   hopestar168
     578   Isearching
     579   Jooyoo
     580   jurassicstore
     581   justokay
     582   lahong
     583   leviis
     584   Liangliang5
     585   lookest
     586   loungersofa
     587   Loverbeauty
     588   mandystores
     589   mouney




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